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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )             8:07CR420
                     Plaintiff,                    )             8:07CR71
                                                   )
       vs.                                         )               ORDER
                                                   )
GILBERTO NORIEGA,                                  )
                                                   )
                     Defendant.                    )
       This matter is before the court on the motions of defendant Gilberto Noriega
(Noriega) to file a motion to suppress out of time (Filing No. 15 - 8:07CR420 and Filing No.
246 - 8:07CR71).      Noriega's counsel represents that government's counsel has no
objection to the motions. Upon consideration, the motions will be granted.
       IT IS ORDERED:
       1.     Defendant Noriega's motions to file a motion to suppress out of time (Filing
No. 15 - 8:07CR420 and Filing No. 246 in 8:07CR71) are granted. Noriega is given until
on or before August 22, 2008, in which to file his motion to suppress. The ends of justice
have been served by granting such motions and outweigh the interests of the public and
the defendant in a speedy trial. The additional time arising as a result of the granting of
the motions, i.e., the time between August 13, 2008 and August 22, 2008, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendant's counsel requires additional time to adequately prepare
the case, taking into consideration due diligence of counsel, and the novelty and complexity
of this case. The failure to grant additional time might result in a miscarriage of justice. 18
U.S.C. § 3161(h)(8)(A) & (B).
       2.     The trial setting of these matters for September 9, 2008, before Judge Laurie
Smith Camp and a jury is canceled and will be rescheduled following the disposition of the
motion to suppress set forth above.
       DATED this 13th day of August, 2008.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
